
Peck, J.
delivered the opinion of the court.
It is of importance to the rights and liberty of the citizen, that, in process either to reach his person or properly, the forms the law has adopted should be pursued; and this strictness will be the more regarded in cases affecting the person and liberty of a defendant. The writ of capias ad satisfaciendum issued in this case is not in form. The command should have been, to have him before the justice who issued the writ, on a day therein appointed, to satisfy the said plaintiff in the sum of, &amp;c., which the plaintiff had recovered for his debt, &amp;c. This form secures to the defendant the benefits conferred by the act of 1823, ch. 12, sec. 6, authorizing a release of the body by a surrender of goods as therein specified. The judgment of the circuit court was proper, and is therefore affirmed.
Judgment affirmed.
